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U'NITED STATES DISTRICT COURT
WES'I`ERN DIS'I`RICT OF LOU'ISIANA

MoN__RoE DrvrsroN

EXCO OPERATING COl\{PANY, LP * CIVIL AC'I`ION NO. 10-1838

vERsUs * .IUDGE DoNALr) E. wALTF.R
EVELYN ARNOLD, Er AL. * MAG. roper KAREN L. HAYES
MEMORANDUM oRDER

 

Before the undersigned magistrate judge, on reference from the Dipuict Court, are two
motions filed by plaintift`, Exco Operating Company, LP: 1) to award attomey’s.r`ees and costs
[doe. # 232], and 2) to tile exhibits under seal [doc. # 233]. For reasons explained beiow, the
former motion is deferred, and the latter is GRANTED.

Bac round

On December 14, 2010, EXCO Operating Company, LP (“EXCO”) filed the instant
complaint for statutory interpleader pursuant to 28 U.S.C. § 1335. (Compl.). EXCO deposited
an initial sum of close to $2 million-into the court registry, and named almost 200 defendants or
potential claimants to the stake. See Cornpl. EXCO prayed that each defendant be required to
appear in this action and establish his or her right to the funds on deposit in the court, and that it
be discharged from all liability associated With the fund. (Compl., Prayer).

EXCO explained in its complaint that since Novernber 2006`, it has been the operator of
an 18 well Unit located in the Vernon I"ield, Jackson Pat'ish, Louisiana. (Compl., 111 5;-5). As
operator of the wells, EXCO “has been paying each owner’s respective interest in said wells . . .”.
Id., at 11 6. At some point, however, EXCO received complaints regarding payments from Lloyd

”_fnmer, an heir of Ned and Nannie Turner. Id. at ‘[i‘|l 6-?`. Moreover, EXCO learned from

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numerous affidavits of marriage, death, and heirship, that Ned and Nannie Turner may have had
more children than indicated in an October 18, 1932, Judgment of Possession that resolved their
successions. Id. at 1111 7-8. Consequently,_EXCO began to doubt which individuals were entitled
to the proceeds from the numerous wells located in Vernon Field and their respective interests
Id. at 11 9. Thus, EXCO provoked the instant proceeding

On December 20, 2010, the undersigned permitted EXCO to deposit the disputed funds in
the registry of the court, and further ordered that “[p]lainti&` recover its oosts of bringing this
action out of such fund., including a reasonable attorney’s fee for the services of its counsel . . .”
(Dec. 20, 2010, Order [doc. # 10] (emphasis added)). The parties did not appeal this order to the
Distn`ct Court.

ln July 2012, the District Court appointed George M. Wear, Jr., as Special Master in this
matter. [doc. #s 150, 153]. On May 29, 2013, the Special Master issued his recommended
disposition (May 29, 2013, R&R [doc. # 197]). On September 6, 2_01.3, the Bisnic‘t Court
entered judgment directing the Clerl< of Court to return the funds in the court registry to EXCO,
and ordering EXCO to disburse the funds in accordance with the appropriate column of the
spreadsheet appended to the Special Master’s Report and Recommendation. (Judgment [doc. #
216]). 1

Following entry of judgment, the parties filed motions for a new trial, together with a
notice ot` appeal- On January 9, 2014, the Distn`ct Court denied two of the motions for new trial,
granted another, and ordered EXCO to submit an amended judgment (Jan. 9, 2014, [doc. # -
231]). On January 23, 2014, EXC_O so complied, but the Disttict Court has yet to endorse and
enter the proposed judgment

On January 23, 2014, EXCO also filed the instant motions to award attorney’s fees and

costs. [doc. # 232]. EXCO’s motion seeks estimated attomey’s fees of approximately

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$l94,634.62 and costs of 314,552.84, for work done in this case from the date the inteipleader
was filed until October 2013. EXCO reserved its right to amend its petition to include additional
fees and costs that it has incurred since Oetober 2013. EXCO also filed a motion to file its cost
records and contemporaneous time sheets under seal for in camera review only. [doc. # 233].

On February 3, 2104, defendants, Evelyn Arnold, et al., hled a memorandum in
opposition to the motion for attomey’s fees and costs. la their memorandum, defendants oppose
any award at all, but if the court were to award fees and costs, then the amount should be limited
to the "‘fees and costs for the first stage of the proceeding, the drafting, filing and service of the
interpleader complaint.” (Opp. Memo., pgs. 4-5 [doc. # 23';']). Det`endants further protest that
they were unable to review any of the costs and services claimed by EXCO because EXCO filed
its supporting evidence/records under seal. EXCO did not file a reply. §

On May 12, 2014, the Disttict Court referred the pending motion for fees and costs to the

undersigned for report and recommendation (May 12, 2014, Order [doc. # 240]).

Analysis
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“A district court has the authority to award reasonable attorneys fees in interpleader
actions. The award of attorney's fees is in the discretion of the district court, and fees are
available when the interpleader is aldisinterested stakeholder, and is not in substantial
controversy with one of the elaimants.” Rhoades v. Casey, 196 F.3d 592, 603 (Sth Cir. 1999)
(citations omitted). The court may consider the following factors to determine whether to award
costs to an interpleader-plaintiff: (1) whether the case is simple; (2) whether the interpleader-

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plaintiff performed any unique services for the claimants or the coui‘t; (3) whether the

 

interpleader-plaintiff acted in good faith and with diligence; (4) whether fhc services rendered
benefitted the interpleader-plaintiff; and (5) whether the claimants improperly protracted the

proceedings Royal Indem. Co. v. Bates, 30?` F. App'x SUl, 806 (5th Cir. l2009) (unpubl.) (citing

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7 Charles Alan Wright, Arthur R. Millet, & Mary Kay Kane, F ederal Proctt`ce and Procedure §
1719 (3d ed.2001). t

The fee award to the stakeholder is_ 1a matter of equity and justice. Lout`si`ona State Lottery
Co. v. Clark, 16 F. 20, 21 (Cir. Court`E.D. La- 1883) (citing fraternal Imp. Fund Trustees v.
Greenough, 105 U.S. 52?, 532 (1881)). In cases where funds have been placed in the court’s
registty, it is standard practice to make fair and just allowance for expenses and counsel fees to
the party that provoked the litigation Id. Such an award, however, contemplates only costs and
fees that are chargeable between parties - not the fees and expenses that an attorney charges his
or her client Id. Furthermore, the fees and costs awarded must be made :‘With moderation and a
jealous regard to the rights of those who are interested in the fund . . .” Id.

Applying the foregoing considerations to the circumstances at hand, the court observes
that the issues in this case were relatively straight forward - once framed, but the matter was
compounded by the large number of claimants Moreover, the interpleader»plaintiff` performed
some work to preserve the funds for the claimants, and continues to assist the court with the
distribution of funds. The court further finds that the interpleader-plaintiff acted in good faith
and with diligenee, but that it is likely that the same or similar result could have been obtained
via a complaint for declaratory judgment ln addition, EXCO has not remained completely
disinterested in the matter. lt answered a counterclaim filed by Lloyd Tumer, and filed responses
to his myriad motions. Moreover, EXCO retains an ongoing interest with respect to the proper
distribution of future royalties.- The services rendered by EXCO enured to its benefit by
resolving any latent dispute to the distribution of the funds. Finally:` it does not appear that any

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claimants improperly protracted the proceedings While Lloyd Turner may have filed a

premature dispositive motion, the motion did not materially protract or delay these proceedings

Accordingly, the court will reafhrm its prior order awarding reasonable fees to EXCO.

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However, the undersigned intends to award solely those fees and costs that EXCO incurred for
drafiing, filing, and serving the interpleader complaint, i.e. actions typically performed during the
first stage of an interpleader action. Rhoades, supra (in the first stage, the district court decides
whether there is a single fund at issue and whether there are adverse claimants to that fund). 'l`he
court does not intend to award fees and/or costs expended by EXCO during the second stage of
the interpleader action, including as a result of its efforts to comply with andfor clarify the
District Court’s order(s) and the Special Master’s directions regarding distribution of the funds.
These are activities that EXCO performs in its ordinary course of business. See Travelers Indem.
Co. v. Israel, 354 F.2d 488, 490 (2d Cir. 1965) (stakeholder may not transfer its ordinary cost of
doing business by bringing an action in interpleader). This equitable approach ensures that
EXCO is reimbursed for its costs of bringing the instant interpleader action and for notifying the
considerable number of claimants, but not reimbursed for fees and costs related to activities that .
it would perform ordinarily, and from which EXCO continues to derive beneht.'

Toward that end, d

lT IS ORDERED that, within the next 14 days nom the date of this order, EXQO shall
supplement its motion for fees and costs with a memorandum and contemporaneous time sheets l
and billing/cost records that conform to the fees and costs that the court intends to allow, as
detailed herein. EXCO may file the revised attorney time sheets/billing records under seal, but,
in any event, shall serve a copy of the revised sheetsr'records on counsel for defendanth, Evelyn

Spillers, et al. - the only parties who opposed the instant motion.l

 

' 'l`he vast majority of fee statements are not attorney-client privileged or work product
protected. XI, Specialty Ins. Co. v. Bolli`nger Shipyards, Inc., Civ. Actiori No. 1_2-20?1, 2014 WL
295053 (E.D. La. Jan. 2?, 2014); Olaoye v. Wells Fargo Bank NA, Civ. Action No. 12-48'?3,
2013 WL 6912691 (N.D. Tex. Dec. 30, 2013). ln any event, EXCO waived any privilege by
seeking reimbursement of fees. XL Specr`alry Insurance Co., sapra.

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IT IS FURTI~[ER ORDERED that, within 14 days after EXCO supplements its motion,
defendants, Evelyn Arnold, et al., shall file any response thereto. EXCO may seek leave to file a
reply within 7 days thereafter. f

fl` IS FURTHER ORDERED that EXCO’s motion to file exhibits under seal [doc. #
233] is hereby GRANTED.

In Chambers, at Monroe, Louisiana, this 20‘h day of May 2014. '

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_NOTICE FROM U.S. DISTRIC'I‘ COURT _- WESTERN DISTRICT OF 0 A

Bernadine Turner
6221 Gabriel Oaks Dr
Baton Rouge, LA 20820

 

Case: 3;10-cv-01338 #242
8 pages printed: Wed May 21 ll:01:09 2014 '

 

YOU COULD RECEIVE THIS NOTICE AS SOON AS
I'l` lS ENTERED INTO THE COURT’S RECORD ,

The Clerk now provides E-rnail notice of entry of all documents filed in our court. This includes
pleadings filed by your opposing counsel as well as ruling, orders and judgments of the court.

This E-mail Notice of Filing allows you to view the actual document immediately after it is elitered
into the court’s record. You can then print or save a copy of the document on your computer. The full
Notice of Electronic Filing can be accessed on the electronic docket sheet.

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www-lawd.uscourts.gov. Please note that you must consent to receive E-mail notification via our
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You can also provide additional E-mail addresses when you sign up. This will lie particularly useful if
you want a staff member to assist you with monitoring the filings in your cases.

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U.S. District Court

Western District of Louisiana

Notice of Electronic Fi]ing

The following transaction was entered on 5,’21;"2014 at 10:42 AM CDT and filed on 5121;'2014
Case Name: Exco Operating Company LP v. Arnold et al
Case Number: 3:10-cv-01838-DEW-KLH
Filer: '

WARNING: CASE CLOSED on 09!06)'2013

Docurnent Number: 242

Docket Text:

ORDER deferring ruling on [232] Motion for Attorney Fees. Within the next 14 days, EXCO
shall supplement its motion for fees and costs with a memorandum and contemporaneous time
sheets and billing/cost records that conform to the fees and costs that the court intends to allow,
as detailed herein. EXCO may file the revised attorney time sheetsfbi.U.ing records under seal,
but, in any event, shall serve a copy of the revised sheetsfrecords on counsel for defendants,
Evelyn Spillers, et al. IT IS FURTHER ORDERED that, within 14 days after EXCO
supplements its motion, defendants, Evelyn Arnold, et al., shall Hle any response thereto. EXCO
may seek leave to file a reply within 7 days thereafter. ORDER granting [233] Motion to file
exhibits under Seal. Signed by Magistrate Judge Karen L Hayes on 5;’20!14. (crt,Crawford, A)

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UNlTED STATES
SECURlTlES AND EXCl-IANGE COMM[SSlON
WASH|NGTON D.C. 20549

TH[S COMPLA[NT lS AGA|NST Tl-IE CR|MINAL ETHICS AND THE OVERALL VIOLATIONS
AND lLLEGAL ACT|V|T|ES OF: ANADARI(O PETROLEUM, EXCO OPERATING COMPANY,
TURNER INDUSTR|ES,CRYSTAL PETROLEUM, ALL OF THEIR AFF|LATES, WHO ARE
DRILL|NG PRESENTLY AND THOSE Wl-IO l-IAVE BEEN DRILLlNG FORMERLY ON VERNON
FlELDS. JACKSON PAR[SH, LOU[S|ANA.

l AM REQUEST|NG A FULL INVESTIGATION OF THE MANAGEMENT DISCUSSION AND
ANALYSIS OF FlNANCIAL COND]T|ON AND OVERALL OPERATIONS OF THE PETROLEUM
OlL AND GAS COMPANIES OPERATIONS IN THE RECOVERY OF OlL, GAS, HYDRO CARBONS
ETC. THEIR QUANTlTAT|VE AND QUALlTATlVE DISCLOSURES ABOUT THE MARKETING
AND THElR COLLECT[VE REVENUES lNCURRED.

AN INVEST|GAT|ON OF THEIR OVERALL CONTROL OF HOW THE PRODUCTIVITY lS
MEASURED lS lN QUESTION BECAUSE OF THEIR ILLEGAL AND UNFAIR METHOD OF
PAYMENTS TO TI-lE REAL AND RlGHTFUL OWNERS OF Tl-IE OIL AND GAS THAT THE‘r' TAKE
FROM THE LAND OWNERS AND RIGHTFUL l-IEIRS OF THE OIL AND GAS THAT SUPPLIES
THE DEMAND FOR OlL AND GAS AND OTH ER MlNERALS AND HYDRO CARBONS FOR THE
UN|TED STATES OF AMERICA.

l l-IAVE BEEN TORMENTED BY THESE PEOPLE FOR TEN YEARS .IUST BECAUSE lAM
lNSlST[NG THAT TH ESE COMPANIES THAT ARE. ST|LL VIOLAT[NG MY CONST|TUTIONAL
ClVlL RIGHTS PAY ME RETRO ROYALITIES THAT ARE OWED ME AS WELL AS TI-IOSE
OWED MY DECEASED FATHER OF MORE THAN 65 YEARS AS I AM H[S ONLY HE[R.

THEY HAVE CRI:`,ATED lLLEGAL HEIRS, PA|D STALKERS. ILLEGAL WlRE TAPPING.. THEY
HAVE CREATED A SOPHISTlCATED METHOD OF TORMENT TO STOP ME AND ANYONE
ASSOClATED WlTl~l ME, FROM GEl l l lNG Wl-lAT lS LEGALLY MY [NHERTANCE.

MY NAME lS ARCHB[SHOP BERNAD|NE TURNER l AM 6':' YEARS OLD, l DON’T KNOW IFl
HAVE ANOTHER TEN YEARS TO FlGHT THESE PEOPLE FOR WHAT lS LEGALLY OWED ME.
.|UDGE ROBERT G JAMES OF THE WESTERN DISTRICT OF LOUlSlANA MONROE DIVISION, lS
OBSTRUCTING .lUST|CE BECAUSE HE HAS ADM|TTED TO BEING PAID ROYAL]TIES ON OUR
INHERlTANCE. l HAVE NO OTHER RECOURSE EXCEPT YOU INVESTIGATE THESE WRONGS.
THE STOCK HOLDERS HAVE A R[GHT TO KNOW Tl-IAT THE VERY ETH]CS AND
OPERAT|ONS OF THESE CRlMlNAl.,S ARE EMMlNENT TO BRING THE|R HOLD|NGS DOWN.
THE[R VERY LIFE lNVESTMENTS ARE GO[NG TO BE DESTROYED.

l WlLL CONTACT EVERY FORM OF MEDlA THAT lS AVAILABLE TO ME TO PUBLICALLY
EXPOSE ALL OF THE CRlMES THAT ARE COMMITTED AGAINST ME. ENOUGH lS ENOUGH.
l AM PRAYING 'l`l~IAT YOU WlLL ASS|ST ME IN FORCING THESE UNETl-IICAL VIOLAT[ONS
AGAINST ME TO END.

l AM REQUEST|NG THAT TH ESE COMPAN|ES l-"AY A REMUNERATION OF NO LESS THAN
ONE BlLLlON DOLLARS FOR ALL UNPA|D ROYAL]T]ES FROM TI-lE INCEPTIVE DRlLL|NG,
THAT WAS WITHHELD FROM MY PATERNAL GRANDFATHER, MY FATHER, ANDNOW
MYSELF. ALSO, FOR THE MERCILESS, TORMENTUOUS, CRU EL AND U'NUSUAL OPPRESSION,
MALIGN STALI(ING, AND THE MALlClOUS AND TRETUOUS AGRAVATION 'l`ECHN|QUES
UTIL|ZED TO EMPEDE ALL EFFORTS TO RETR|EVE MY ROYALTY [NHElRITANCE.

l AM lN EXPECTATION OF YOUR RESPONSE AND YOUR COM PLETE COOPERAT[ON lN TH]S

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MATTER.

l REMAIN.

 

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FEBRUARY 13,2012

